70 F.3d 112
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Walter C. MUSICK, Petitioner,v.ISLAND CREEK COAL COMPANY;  Director, Office of Workers'Compensation Programs, United States Department ofLabor, Respondents.
    No. 94-2572.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 27, 1995Decided Nov. 15, 1995.
    
      Walter C. Musick, Petitioner Pro Se.  Mary Rich Maloy, JACKSON &amp; KELLY, Charleston, West Virginia;  Patricia May Nece, Helen Hart Cox, UNITED STATES DEPARTMENT OF LABOR, Washington, D.C., for Respondents.
      Before WILKINS, NIEMEYER, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1995).  Our review of the record discloses that the Board's decision is based upon substantial evidence and is without reversible error.  Accordingly, we affirm on the reasoning of the Board.  Musick v. Island Creek Coal Co., No. 93-572-BLA (B.R.B. Nov. 22, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    